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Interim Lead Counsel for the Direct Purchaser Plaintiffs

UNITED STATES DISTRICT COURT
_NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
I'N R.E: CATHODE RAY TUBE (CRT) Master File No. CV- 07-5944-SC
ANTITRUST LITIGATION
MDL No. 1917

 

This Document Relates to:
[PROPOSED] ORDER GRANTING
SETTLEMENT CLASS CERTIFICATION

.ALL DIREC'_I` PURCHASER ACTIONS AND PRELIMINARY APPROVAL OF

CLASS ACTION SETTLEMENTS WITH
CPT AND PHILIPS

 

 

[PROPOSED] ORDER GR.ANTING SE'I"I'LEMENT CLASS CERTlFICATION AND PRELIMINARY APPROVAL

OF CLASS ACTION SETTLEMENTS WITH CPT AND PHILIPS - CV-07-5944-SC

 

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On March 26, 2012, Plaintiff` filed a Motion for Preliminary Approval of Class Action
Settlements with Defendants (l) Chunghwa Picture Tubes, Ltd. end Chunghwa Picture Tubes
(Malaysia) Sdn. Bhd. (collectively “CPT”), and (2) Koninklijke Philips Electronics N.V., Philips
Electronics North America Corporat;ion, Philips Electronics Industries (Taiwan), Ltd., and Philips
Da Amazonia Industria Electronica Ltda. (collectively, “Philips”). The Court, having reviewed the
motion, each of the two settlement agreements, the pleadings and other papers on file in this action,
and the statements of counsel and the parties, hereby finds that the motion should be GRANTED.

NOW, Tl-IEREFORE, IT IS HER_EBY ORDERED THAT:

1. For purposes of this Order, except as otherwise set forth herein, the Court adopts
and incorporates the definitions contained in each of the two settlement agreements, to the extent
not contradictory or mutually exclusive

2. The Court hereby gives its preliminary approval to each of the two settlement
agreements, subject to a hearing on the final approval of each settlement agreement (the "Fairness
Hearing").

3. The Court finds that each settlement falls within the range of possible final approval
and that there is a sufficient basis for notifying the settlement classes identified in the two
settlements of the proposed settlements and for setting a Faimess Hearing.

4. Pursuant to Federal Rule of Civil Procedu_re 23, the Court provisionally certifies the

following settlement classes for purposes of this Motion only:

All persons and entities Who, between March l, 1995 and November 25,
2007, directly purchased a CRT Product in the United States from any
defendant or subsidiary or affiliate thereof`, or any co-conspirator.
Excluded from the Class are defendants, their parent companies,
subsidiaries and affiliates, any co-conspirator, all governmental entities,
and any judges or justices assigned to hear any aspect of` this action.

5. CRT Products refers to all forms of Cathode Ray Tubes. It includes color
picture tubes, color display tubes, and the finished products`that contain them _
televisions and monitors. The settlement class definition as set forth above and as used in
this order is for settlement purposes only. It has no binding effect on the Court, on the
indirect-purchaser plaintiff`s, or on the Non-Settling Defendants for any other purpose,

[PROPOSED] ORDER GRANTI`NG SETTLEMENT CLASS CERTIFICATION A`ND PRELIMINARY APPROVAH.
OF CLASS ACTION SETTLEMENTS WITH CPT AND PHlLIPS - CV-07-5944-SC

 

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including but not limited to the filing or resolution of any upcoming motion(s) for class
certification pursuant to Fed. R. Civ. Proc. 23.

6. The Court further provisionally finds that the prerequisites to certifying a settlement
class under Rule 23 are satisfied for settlement purposes in that: (a) there are hundreds of
geographically dispersed settlement class members, making joinder of all members impracticable;
(b) there are questions of law and fact common to the settlement class which predominate over `
individual issues; (c) the claims or defenses of the settlement_class plaintiffs are typical of the
claims or defenses of the settlement class; (d) the plaintiffs will fairly and adequately protect the
interests of the settlement class, and have retained counsel experienced in antitrust class action
litigation Who have, and Will continue to, adequately represent the settlement class; and (e) a
settlement class resolution is superior to individual settlements

7. The Court hereby appoints the Plaintiffs named in the Consolidated Amended

Cornplaint, filed March 16, 2009, as Representative Plaintiff`s of the settlement class.

8. The court appoints the law firm of Saveri & Saveri, Inc. to serve as Class Counsel

' for the settlement class.

9. The Court approves the form of the long form notice attached hereto as Exhibit A
(“Long Form Notice”). The Court also approves the form of the summary notice attached hereto as

Exhibit B (“Summary Notice”). The Court finds that taken together, mailing of the Long Form

'Notice (U.S Mail or electronic mail), publication of the Summary Notice, and internet posting of

the Long Form Notice are: (i) the best notice practicable; (ii) reasonably calculated to, under the -
circumstances, apprise the settlement class members of the proposed settlements and of their right
to object _or to exclude themselves as provided in the settlement agreements; (iii) reasonable and
constitute due, adequate, and sufficient notice to all persons entitled to receive notice; and (iv) meet
all applicable requirements of due process and any other applicable requirements under federal law.
10. The defendants shall produce in fourteen (14) days fi_'om the entry of this Order an
electronic list of potential settlement class members along With their mail and e-mail addresses, to

the extent reasonably feasible and subject to the availability of responsive information

[PROPOSED] ORDER GRANTING SETTLEMENT CLASS CERTIF]CATION AND PRELIMI`NARY APPROVAQ
OF CLASS ACTION SETTLEMENTS WITH CPT AND FHILIPS - CV-07-5944-SC

 

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11. Plaintiff`s’ claims administrator shall provide notice of the class settlements The
claims administrator shall provide direct notice of the settlements to all members of the settlement
class on or before a date set 35 days from the entry of this Order. Such notice shall be sent either
by first class U.S. mail postage prepaid or by electronic mail. The claims administrator shall
publish the Summary Notice in the national edition of the Wa!l Srreet Joumal on or before a date
set 39 days from the entry of this Order. The Claims Administrator shall also cause a copy of the
class notices and Settlement Agreements to be posted on the internet website
www.crtdirecmurchaserantitrustsettlement.com.

12. Each settlement class member shall have the right to be excluded from the
settlement class by mailing a request for exclusion to the Claims Adm_inistrator no later than a date
set at least forty-five (45) days after mailing of the direct notice. Requests for exclusion must be in
writing and set forth the name and address of the person or entity who_wishes to be excluded, as
well as all trade names or business names and addresses used by such person or entity, and must be
signed'by the class member seeking exclusion No later than fourteen (14) days after the date set
for exclusions, Class Counsel shall file With the Court a list of all persons or entities who have
timely requested exclusion from the settlement classes as provided in the settlement agreements

13. Any settlement class member who does not properly and timely request exclusion
from the settlement class as provided above shall, upon final approval of the settlements be bound
by the terms and provisions of the settlements so approved, including but not limited to the
releases, waivers, and covenants described in the agreements, Whether or not such person or entity
objected to the settlement agreements and whether or not such person or entity makes a claim upon
the settlement funds.

14. Each settlement class member who has not timely excluded itself from the
settlements shall have the.right to object to (l) the settlements, and/or (2) the plan of allocation by
filing written objections with the Court no later than a date set at least forty-five (45) days after
mailing direct notice,- copies of which shall be served on all counsel listed in the class notice.

F ailure to timely file and serve written objections will preclude a class member B:om objecting to
any or all of the settlements `

[PROPOSED] ORDER GRANTING SETTLEMENT CLASS CERTIF`ICATION AND PRELIMINARY AFPROVAB
¢OF CLASS ACTION SETTLEMENTS WITH CPT AND PI~IILIPS - CV-07-5944-SC

 

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15. Each settlement class member as provided above shall have the right to appear at the
Fairness Hearing by filing a Notice of Intention to Appear no later than a date set forty-five (45)
days aner mailing direct notice, copies of which shall be served on all counsel listed in the class
notice.

16. The Court will conduct a Faimess Hearing on a date set on or about 131 days from
entry of this Order at 10:00 a.m. The Fairness Hearing Will be conducted to determine the
following:

a. Whether each proposed settlement is fair, reasonable, and adequate and
should be granted final approval;

b. Whether final judgment should b_e entered dismissing the claims of the
settlement class against defendants (l) CPT; and (2) Ph_ilips;

c. Approval of the plan of allocation;

e. Such other matters as the Court may deem appropriate

17. Each member of the settlement class shall retain all rights and causes of action with
respect to claims against all Def`endants other than CPT and Philips, regardless of Whether' such
member of the settlement class decides to remain in the Settlement Class or to exclude itself from
the settlement class.

18. All briefs, memoranda and papers in support of final approval of the settlements
shall be filed no later than twenty-one (21) days before the Fairness Hearing.

19. Plaintiffs’ Counsel and their designees are authorized to expend flmds from the
escrow accounts to pay taxes, tax expenses, notice, and administration costs as set forth in each of
the Settlement Agreements.

20. All further direct purchaser class proceedings as to Defendants (l) CPT; and (2)

Philips are hereby stayed except for any actions required to effectuate the settlements

[PROPOSED] ORDER GRANTI'NG SETTLEMENT CLASS CERTIFICATION AND PRELIMI'NARY APPROVAH
OF CLASS ACTION SETTLEMENTS WITH CPT AND PHILIPS - CV-07-5944-SC

 

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21. The court retains exclusive jurisdiction over this action to consider all further
matters arising out of or connected with the settlements

IT IS SO ORDERED.

Dated: ` 3 lotz €Q.,,_Q~ & 'c>/ ,=-
Hon. Charles A. Legge et.)
Special Master

REVIEWED AND [APPROVED OR MODIFIED]

Dated:

 

Hon. Samuel Conti
United States District Judge

[PROPOSED] ORDER GRANTING SETTLEMENT CLASS CERTIFlCATION AND PREL]MINARY APPROVAE

OF CLASS ACTION SETTLEMENTS WITH CPT AND PHILIPS - CV-O7-5944-SC

 

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EXHIBIT A

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UN|TED, STATES D|Si`RlC`l' COURT FOR THE NO'RTHERN D|STR|CT OF CAL|FORN|A

|f You Bought A Cathode Ray Tube Product,

A Class Action Settlement May Affect ¥ou.

Cathode R.ay Tube (CRT) Products include Cathode Ray Tubes and Enished products that

contain a Cathode Ray Tube such as 'l`elevi sions and Computer Monitors
A F ederal Court authorized this Notice. T his is not a solicitation fier a lawyer

A class action lawsuit brought on behalf of direct purchasers of CRT Products is
currently pending.

Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
unlawful conspiracy to fix, raise, maintain or stabilize the prices of cathode ray tubes.
Plaintiffs further claim that direct purchasers from the Defenda.nts of televisions and
monitors containing cathode ray tubes may recover for the effect that the cathode ray tube
conspiracy had on the prices of televisions and monitors. Plaintiffs allege that, as a result
of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
paid more for CRT Products than they would have paid absent the conspiracy.
Def`endants deny Plaintiffs’ claims.

Settlements have been reached with (1) Chunghwa Picture Tubes, Ltd. and Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd. (collectively “CPT”)., and (2) Koninklijke Philips
Electronics N.V., Philips Electronics North America Corporation, Philips Electronics
Industries `(Taiwan), Ltd., and Philips Da Amazonia lndustn'a Electronica Ltda.
(collectively, “Philips”). The companies are together referred to as . the “Settling
Defendants.”

Your legal rights will be affected Whether you act or don’t act. This Notice includes
information on the Settlements and the continuing lawsuit. Please read the entire Notice
carefully.

These Rights and Options - and deadlines to exercise them -

are explained in this notice

You can object or comment on the Settlements see Question 10
You may also exclude yourself from the Settlements 'see Question 10
You may go to a hearing and comment on the Settlements see Question 14

The Court in charge of this case still has to decide whether to approve each cf the Settlements.
The case against the Ncn-Settling Defendants (identified below) continues.

For More |nformation: Cal| 1-800-000-0000 or Visit
www.-CRTDirectPurchaserAntitrustSett!ement.com

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WHAT THIS NOTICE CONTAINS

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2. Who are the Defendant companies?
3. What is this lawsuit about?
4. Why are there Settlements but the litigation is continuing?
5. What is a Cathode Ray Tube Product?

6. What is a class action?

The Settlement Class ............................................................................. - ....................... Page 4
7. How do I know if I’m part of the Settlement Class?
8. What does the Settlement provide?
9. When can I get a payment?
10. What are my rights in the Settlement Class?

ll. What am I giving up to stay in the Settlement Class?

The Settlement Approval Hearing ........................................................................................... Page 7
12. When and where will the Court decide whether to'approve the Settlement?
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Getting More Information ........................ ` ................................................................................ Page 8

17. How do I get more information?

For More |nformatlon: Call 1-800-000~0000 or Visit
www.CRTDirectPurchaserAntitrustSett|ement.com

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BASIC INFORMATION

l. Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products
containing those tubes between March l, 1995 and November 25, 2007. For purposes of these
Settlements, a direct purchaser is a person or business who bought a CRT, or a television or computer
monitor containing a CRT directly fi'om one or more of the Defendan_ts, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the Court
decides whether to approve the Settlements

The notice explains the litigation, the two settlements, and your legal rights.

The Court in charge of the case is the United States District Court for the Northern District of California,
and the case is called fn re Cathode Ray Tube (CRD) Antz'trus! Litigatian, MDL Nc. 1917. The people
who sued are called Plaintiffs and the companies they sued are called Defendants.

2. Who are the Def`endant companies?

The Defendant companies include: LG Electronics, lnc., LG Electronics U.S.A., lnc., LG Electrcnics
Taiwan Taipei Co., Ltd, Kcninklijke Philips Electronics N.V., Philips Electronics North America
Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia Industria Electronica
Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung Electronics Co., Ltd., Samsung
Electronics America, Inc., Samsung SDI Cc. Ltd., Samsung SDI America, lnc., Samsung SDl Mexico
S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co.
Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba Corporation, Toshiba America, lnc., Toshiba America
Consumer Products, LLC., Toshiba America Infonnation Systems, lnc., Toshiba America Electronics
Components, lnc., Panasonic Corporation f`/kfa Matsushita Electric Industrial, Ltd., Panasonic
Corporation cf North America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company,
Ltd. (BMCC), I-Iitachi, Ltd., Hitachi Displays, Ltd., Hitachi' Electronic Devices (USA), Inc., Hitachi
America, Ltd., Hitachi Asia, Ltd., Tatung Company_of America, lnc., Chunghwa Picture Tubes Ltd.,
Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., [RICO Grcup Corporation, IRlCO Display Devices Co.,
Ltd., IR.ICO Grcup Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation
f/k/'a Daewoo Electronics Company, Ltd., Daewoo lnternational Corpcration, Irico Grcup Corporation,
Irico Grcup Electronics Co., Ltd., and Irico Display Devices Cc., Ltd.

For More lnformation: Call1-800-000-0000 or Visit
www.CRTDirectPurchaserAntitrustSettlement.com
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3. What is this lawsuit about?

The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTS_ and
the CRTs‘ccntaincd in certain finished products for over ten years, resulting in overcharges to direct
purchasers of those CRTs and certain finished products containing CRTs. The complaint describes how
the Defendants and co-conspirators allegedly violated -the U.S. antitrust laws by establishing a global
cartel that set artificially high prices for, and restricte

d the supply of CRTs and the televisions and monitors that contained them. Defendants deny Plaintif`fs
allegations The Court has not decided who is right.

4. Why are there Settlements but the litigation is eonlinuiog?

Only two of the Defendants have agreed to settle the lawsuit - CPT and Philips. The case is continuing
against the remaining Non-Settling Defendants. Additional money may become available in the future as
a result of a trial or. future settlements, but there is no guarantee that this will happcn.

5. What is a Cathode Ray Tube Product?

P_`or the purposes ofthe Settlements, Cathode Ray Tube Products means Cathode Ray Tubes of any type
(e.g. color display tubes, color picture tubes and monochrome display tubes) and finished products which
contain Cathode Ray Tubes, such as Televisions and Computer Monitors.

6. What is a class action?

In a class action, one or more people, called class representatives sue on behalf of people who have
similar claims. All these people are members of the class, except for those who exclude themselves from
the class.

lf the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified
about those Settlements, if any, at that time. lmportant information about the case will be posted on the
website, www.CRTDirectPurchaserAntitrustSettlement.com as it becomes available Please check the
website to be kept informed about any future developments

-THE SETTLEMENT CLASS-

7. How do I know if I’m part of the Settlement Class?

All persons and entities who, between March l, 1995 and November 25, 2007, directly purchased a CRT
Product in the United States from any defendant or subsidiary or affiliate thereof, or any co-conspirator.
(“Settlement Class”).

For More lnformation: Call 1-800-000-0000 or Visit
www.CRTDirectPurchaserAntitrustSettlement.com
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~8. What do the Settlements provide?

The settlement with CPT provides for payment of $10,000,000 in cash, plus interest The settlement also
provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the
complaint In addition, CPT’s sales remain in the case for the purpose of computing damages against the
remaining non-settling Defendants. Finally, the settlement provides that $500,000 of the $lO million
settlement fund, subject to Court approval, may be used to pay expenses incurred in the litigation for
prosecution of the action on behalf cf the Settlement Class against non-settling defendants

The Settlement with Philips provides for payment of $27,000,000 in cash; however, the $27 million
settlement amount is subject to reduction based on the number of exclusions from the Settlement Class
after notice. The detailed reduction formula is set forth in the Philips settlement available on the
Settlement Class website www.CRTDirectPurehuserAntitrustSettlementcom. The settlement also
provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the
complaint In addition, Philips’ sales remain in the case for the purpose of computing damages against the
remaining non-settling Defendants. Finally, the settlement provides that $500,000 of the settlement fund,
subject to Court approval, may be used to pay expenses incurred in the litigation for prosecution of the
action on behalf of the purported class against non-settling defendants

More details are in both Settlement Agreements, available at
www.CRTDirectPurchaserAntitrustSettlementcom.

9. When can-l get a payment?

No money will be distributed to any Settlement Class Member yet The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements orjudgments can be_cbtained in the
case and then be distributed together, to reduce expenses

Any future distribution of the Settlement Funds will be done on apro rata basis You will be notified in
the future when and where to send a claim form. ' DO NOT SEND ANY CLAIMS NOW.

In the future, each Settlement Class member’s pro rata share of` the Settlement Fund will be determined
by computing each valid claimant’s total CRT Product purchases divided by the total valid CRT Product
purchases claimed. This percentage is multiplied to the Net Settlement Fund (total settlements minus all
costs, attomeys’ fees, and expenses) to determine each claimants pro rata share of the 'Settlement Fund.
To determine your CRT Product purchases CRT tubes (color display and color picture) are calculated at
full value (100%) while CRT televisions are valued at 50% and CRT computer monitors are valued at
75%.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the
CRT value of the product you purchased -tubes 100%, monitors 75% and televisions 50%.

For More |nformation:. Call 1-800-000-0000 or Visit
www.CRTDIrectPurchaserAntitrustSettlement.com
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10. What are my rights in the Settlement Class?

Remain in the Settlement Class: lf you wish to remain a member of the Settlement Class you do not
need to take any action at this time.

Get out of the Settlement Class: If you wish to keep any of` your rights to sue the Settling Defendants
about the claims in this, case you must exclude yourself from the Settlement Class You will not get any
money from either of the settlements if you exclude yourself from the Settlement Class

To exclude yourself from the Settlement Class, you must send a letter that includes the following:
o Your name, address and telephone number,
¢ A statement saying that you want to be excluded ti'om fn re Cathode Ray Tube (CR'D Amitr'ust
Lz'zigan‘on,' MDL No. 1917, CPT Settlement, and/or Philips Settlement; and
0 Your signature
You must mail your exclusion request, postmarked no later than _ , 2012, to:
CRT Claims Administrator

P.o. 0000
ciry, sr 00000

Remain in the Settlement Class and Ob]`ect: If you have comments about, or disagree with, any aspect
of the Settlements you may express your views to the Court by writing to the address below. The written
response needs to include your `name, address telephone number, the case name and number (In re
Cathode Ray Tube (CR?') Antitru.st Litigarr'on, MDL No. 1917), a brief explanation of your reasons for
objection, and your signature The response must be postmarked no later than , 2012 and
mailed to:

 

 

 

COURT INTERIM LEAD COUNSEL FOR COUNSEL FOR
COUNSEL CPT PHILIPS l
Honorab|e Charles A. Guido Saveri Joe| S. Sanders john |v{, Ta\aday
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“' E san Francisce, cA 94111 suite 3000 N»W-» SU't€ 1090

San Francisco, CA 94111

 

 

San Francisco, CA 94105

 

 

Washington, D.C. 20004

 

For More lnformation: Call 1-800-000-0000 or Vlsit

www.CRTDirectPurchaserAntitrustSett|ement.com

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11. What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants, or be part
of any other lawsuit against Settling Defendants about the legal issues in this case. lt also means that a`ll of
the decisions by the Court will bind you. The “Release of Claims” includes any causes of actions asserted
or that could have been asserted in the lawsuit, as described more fully in the Settlement Agreements. The
Settlement Agreements are available at www.CRTDirectPurchaserAntitrustSett|ement.com.

 

THE SETTLEMENT APPROVAL HEAR]NG
12. When and where will the Court decide whether to approve the Settlement?

The Court will hold a Faimess Hearing at on 2012, at JAMS, 'I`wo Embarcadero, Suite
1500, San Francisco, lCA 94111. The hearing may be moved to a different date or time without additional
notice, so it'is a good idea to check the Settlement Class website for information At this hearing, the
Court will consider whether the Settlements are fair, reasonable and adequate. If there are objections or
comments the Court will consider them at that time. After the hearing, the Court will decide whether to
approve the Settlements Wc do not know how long these decisions will take.

13. Do I have to come to the heariug?

No. Interim Lead Counsel will answer any questions the Court may have. But, you are welcome to come
at your own expense. If you send an objection or comment you don’t have to come to Court to talk about
it. As long as you mailed your written objection on time, the Court will consider it You may also pay
another lawyer to attend, but it’s not required.

14. May`l speak at the hearing?‘

If you want your own lawyer instead of Interim Lead Counsel to speak'at the Final Approval Hearing,
you must give the Court a paper that is called a `i‘Notice of Appearance.” The Notice of Appearance
should include the name and number of the lawsuit (In re Cathode Ray Tube (CRD Antitrust Lir‘igazr'on,
MDL No. 1917), and state that you wish to enter an appearance at the Fairness Hearing. lt also must
include your name, address telephone number, and signature. Your "Notice of Appearance” must be
postmarked no later than , 2012. You cannot speak at the Hearing if you previously asked to
be excluded from the Settlement

The Notice of Appearance must be sent to the addresses listed in Question 10.

_For More lnformation: Call 1-800-000-0000 or Visit
www.CRTDirectPurchase rAntitrustSettlement.com
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THE LAWYERS REPRESENT[NG YOU
15. Do I have a lawyer in the case?

Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “lnterim Lead
Counsel.” You do not have to pay Interim Lead Counsel. lf you want to be represented by your own
lawyers and have that lawyer appear in court for you in this case, you may hire one at your own expense.

16. How will the lawyers be paid?

Class Counsel are not asking for attomeys’ fees at this time. At a future time, Interim Lead Counsel will
ask the Court for attorneys’ fees not to exceed one-third (33.3%) of this or any iiiture Settlement Fund
plus reimbursement of their costs and expenses in accordance with the provisions of the Settlement
Agreements. Interim Lead Counsel may also request that an amount be paid to each of the Class
Representatives who helped the lawyers on behalf of the whole Class

GETTING MORE INFORMATION
17. How do I get more information?

This Notice summarizes the lawsuit and the Settlement You can get more information about the lawsuit
and Settlements at www.CRTDirectPurchaserAntitrustSettlement.com.by calling 1-800~000-0000, or
writing to CRT Claims Administrator, P;O. 0000, City, S'I` 00000. Please do not contact JAMS or the
Court about this case.

Dated: , 2012 BY ORDER OF THE COURT

For More |nformation: Ca|| 1-800-000-0000 or Visit
www.CRTDirect_l'_urchgeerAntitrustSettlement.com
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EXHIBIT B

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If You Bought A Cathode Ray Tube (“CRT”) or CRT Product, A Class Action
Settlement May Affect You.

 

CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes

Settlements have been reached with two defendants
in a class action lawsuit involving CRTs and CRT
Products. CRT stands for “Cathode 'Ray 'I`ube.”
“Cathode Ray Tube (CRT) Products” include
Cathode Ray Tubes and finished products that
contain a Cathode Ray_ Tube such as Televisions and
Computer Monitors.

What is this lawsuit abour?

The lawsuit alleges that Defendants and Co-
Conspirators engaged in an unlawful conspiracy to
tix, raise, maintain or stabilize the prices of CRTs.
Plaintiffs further claim that direct purchasers from
the Defendants of televisions or monitors that contain
a cathode ray tube manufactured by a Defendant may
recover for the effect that the alleged CRT conspiracy
had on the prices of televisions or monitors. Plaintiffs
allege that, as result of the unlawful conspiracy
involving CRTs, they and other direct purchasers
paid more for CRT Products than they would have
absent the conspiracy Defendants deny Plaintiffs’
claims.

Who ’s included in the settlemenrs?

The Settlements include all persons and entities who,
between March 1, 1995 and November 25, 2007,
directly purchased a CRT Product in the United
States ii'om any defendant or subsidiary or affiliate
.thereof. (“Settlement Class”).

Who are the Settling Defendants?

Settlements have been reached with Defendants
Chunghwa Picture Tubes, Ltd. and Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd. (collectively
“CPT”) and Koninklijke Philips Electronics N.V.,
Philips Electronics North America Corporation,
Philips Electronics Industries (Taiwan), Ltd., and
Philips Da Amazonia lndustria Eleclronica Ltda.
(collectively, “Philips”) The companies are together
referred to as the “Settling Defendants.” A complete
lis_t of Defendants is set out in the Long Form of
Notice available at
www.CRTDireetPurchaserAntitrustSettlement.com.

What do the Settlements provide? _

The CPT Settlement provides for the payment of
$10,000,000 in cash, plus interest, to the Settlement
Class, The Philips Settlement provides for the
payment of $27,000,000 in cash, subject to a
reduction based on the number of exclusions from the
Settlement Class after notice. Each settlement
provides that $500,000 of the settlement fund, subject

to Court approval, may be used to pay expenses
incurred i_n the litigation for prosecution of the action
on behalf of the Class against the non-settling
defendants Bcth Settling Defendants have agreed to
provide Plaintiffs with significant and valuable
cooperation in the prosecution of the case against the
remaining non-settling Defendants. Money will not
be distributed to Settlement Class members at this
time. The lawyers will pursue the lawsuit against the
other Defendants to see if any future settlements or
judgments can be obtained in the case and then be
distributed together, to reduce expenses

What are my rights?

If you wish to remain a member of the Settlement
Class you do not need to take any action at this time.
lf you do not want to be legally bound by the
Settlements, you must exclude yourself in writing by

, 2012, or you will not be able to sue, or
continue to sue, the Settlin g Defendants about the
legal claims in this case.

If you wish to comment on or disagree with any
aspect of the proposed settlements, you must do so in
writing no later than , 2012. The Settlement
Agreernents, along with details on how to object to
them, are available at
www.CRTDirectPurchaserAntitmstSettleme'nt.com.
The U.S. District Court for the Northern District of
Califomia will hold a Faimess Hearing at __ on
2012, at JAMS, Two Embarcadero, Suite
1500, San Francisco, CA 941 1 l. The hearing may be
moved to a different date or time without additional
notice, so it is a good idea to check the website for
informationl

 

The Court has appointed the law firm of Saveri &
Saveri, Inc. to represent Direct Purchaser Class
members as Interim Lead Class Counsel. The Court
will hold a hearing on , 2012 to consider
whether the Settlements are fair, reasonable and
adequate. If there are objections or comments, the
Court will consider them at that time. You may
appear at the hearing, but don’t have to. We dc not
know how long these decisions will take. Please do
not contact JAMS or the Court about this case.

This is a Summary Notice. For more details, call toll
free 1-800-000-0000, visit
www.CR'I`DirectPurchaserAntitrustSettIement.com.,
or write to CRT Direct Settlement, P.O. Box XXX,
XXXXX.

